Case 7:23-cr-00185-DC Document 4 Filed 02/13/24 Page 1 of1

—

AO 442 (Rev. 11/11) Arrest Warrant
UNITED STATES DISTRICT COURT RECEIVED
for the
Western District of Texas NOV 20 2023
U.S. MARSHALS SERVICE
United States of America MIDLAND, TX
Vv. )
) Case No, 7:23-CR-00185-001
)
)
Mario Aldo Sauceda Fl LE D
Defendant
FEB 1:3 2024
ARREST WARRANT CLERK.U 3 fsinits COURT
WESTERW 717" 2 TEXAS
To: Any authorized law enforcement officer Pa ce
UTY

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Mario Aldo Sauceda
who is accused of an offense or violation based on the following document filed with the court:
1 Indictment [ Superseding Indictment O Information © Superseding Information [ Complaint

1 Probation Violation Petition wa Supervised Release Violation Petition 1 Violation Notice © Order of the Court

This offense is briefly described as follows:

Defendant failed to abide by conditions of Supervised Release.

Date: 11/17/2023 _

uing officer's signature

J. Estrello, Deputy Clerk

Printed name and title

City and state: MIDLAND, TEXAS

Return

This warrant was OME on a \ | Pd: 2 ey and the person was arrested on (date) rt ( | Qt |
EQ OT

al (city and state)
a
Date: Z ee T= _
__-Festing officer's signature

Yt Bi
GT Cem, (Nasty

Printed name and title

